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                 Exhibit A
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                                    In the Commonwealth of the Bahamas
                                            In the Supreme Court
                                             Public Law Division

                                       Claim No. PUB/jrv/00015 of2023

                     IN THE MATTER OF Sections 7, 12 and 17 of the Extradition Act,
                     Chapter 96, Statute Laws of the Bahamas.

                     AND IN THE MATTER of Article 14 of the Extradition Treaty
                     between the United States of America and the Government of the
                     Commonwealth of the Bahamas dated 9 th March, 1990.

BETWEEN
                                        SAMUEL BANKMAN-FRlED
                                                                                           Claimant
                                                  AND
                        The Honourable FREDERICK AUDLEY MITCHELL,
  (Minister of Foreign Affairs and The Public Service of The Commonwealth of The Bahamas having
                                     responsibility for Extradition)
                                                                                    First Defendant
                               THE ATTORNEY GENERAL OF THE
                               COMMONWEALTH OF THE BAHAMAS
                                                                                  Second Defendant


Before:                   The Hon. Mr. Justice Loren Klein
Appearances:              Mrs. Krystal Rolle KC, with Ms. Kendrea Demeritte for the Claimant
                          Mrs. Kayla Green-Smith for the Defendants
Hearing Date:             9 June 2023

                                                    RULING
KLEIN,J.
Judicial review-Application for leave pursuant to Part 54.3 (1) of the Civil Procedure Rules 2022 ("CPR 2022")-Test
for the grant ofleave-----Sufficient interest-Arguable grounds with reasonable prospect of success-Discretionary Bars­
Alternative remedy-Abuse of Process-Interim Relief-Injunction-Disclosure
Extradition Act 1994---Consent of Minister to "other offence" pursuant to s. 7-Extradition Treaty between the Bahamas
and the United States of America, 1994-Extradition Principles-Double Criminality-Rule of Specialty-Whether
claimant entitled to invoke specialty rights in Extradition Treaty-Alternative remedy-Abuse of Process
INTRODUCTION AND BACKGROUND

[1]     This is an application for leave pursuant to Part 54.3(1) of the Supreme Court Civil Procedure
        Rules 2022 ("CPR 2022") by the claimant to commence judicial review proceedings against the
        defendants arising out of his extradition to the United States.


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[2]    It is far removed from the routine fare of applications for leave which normally trouble the courts,
       however, as these proceedings are marked by several striking features. For one, it involves the
       pending high-profile trial of Samuel Bankman-Fried (a.k.a. "SBF'') in the Southern District of
       New York ("SDNY") on a raft of charges arising out of the collapse of the global cryptocurrency
       exchange FTX, for which he was extradited from The Bahamas (with his consent) in December
       2022. Further, it raises novel and difficult questions about the extradition process and in particular
       the interpretation of the so-called 'specialty' principle in the scheme of the Extradition Act 1994
       ("the Extradition Act") and the Extradition Treaty between the Government of the United States
       of America and the Government of the Commonwealth of the Bahamas, si gned 9 March 1990 and
       which entered into effect on 22 September 1994 ("the Extradition Treaty").

[3]    These issues arise because the United States ("the requesting state"), after reviewing additional
       documents and interviewing witnesses following his extradition, has returned two superseding
       indictments against SBF to try him for additional offences which were not covered under the
       original indictment. In this regard, they have sought the post-surrender consent of The Bahamas
       ("the requested state"), as is required under the Extradition Treaty and Act, to try him on the new
       offences.

[4 J   The claimant asserts that he has a right to be heard before The Bahamas can consent to his
       prosecution on the additional offences for which he was not extradited. He has therefore launched
       these proceedings to challenge an email decision of 6 June 2023 from the second defendant, the
       effect of which he claims is to assert that the process by which that consent is given is a matter
       between states inter se in their role as sovereigns, and deny him a right to make representations
       (although the defendants through counsel dispute that this is the intended meaning).

[5]    While the determination of those issues remains for the substantive judicial review hearing (if
       leave is granted), the question for this court on the application before it is whether it should exercise
       its discretion to grant leave and any of the interim remedies sought to preserve the claimant's rights
       pending the substantive hearing.
Factual and procedural background
[6]    As indicated, the claimant is SBF, the famous (and perhaps now infamous) founder of FTX, who
       is currently in the custody of the US facing charges before the US District Court of SONY,
       stemming from the collapse of the cryptocurrency companies he founded and controlled. It is
       alleged that the operation of these entities involved the defrauding of FTX customers, financial
       institutions and lenders, as well the perpetration of a number of other crimes.

[7]    Up to the time of his extradition, and approximately 2 years before that, SBF was a resident of The
       Bahamas, where he conducted operations involving FTX and other companies. On the 21
       December 2022 he was surrendered to the US without formal extradition proceedings, having
       agreed in writing (by affidavit sworn by him on 20 December 2022) to the simplified extradition
       proceedings provided for at section 17 of the Extradition Act.
[8]    His extradition was sought pursuant to an indictment ("the Original indictment") (United States of
       America v. Samuel Bankrnan Fried, a/k/a/ "SBF", Case Number S5 22 Cr. 673) which contained


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        eight counts: Count 1 (conspiracy to commit wire fraud on FTX customers); Count 2 (wire fraud);
        Count 3 (conspiracy to commit wire fraud on lenders); Count 4 (wire fraud on lenders); Count 5
        (conspiracy to commit commodities fraud); Count 6 (conspiracy to commit securities fraud);
        Count 7 (conspiracy to commit money laundering); Count 8 (conspiracy to defraud the US and
        violate campaign finance laws). The warrant of surrender issued in support of the extradition
        process attached a schedule of all but one of the Counts on which SBF had been provisionally
        arrested (Count 8, which charged a conspiracy to violate the campaign finance laws of the United
        States of America).

[9]     On 20 December 2022, SBF appeared before a stipendiary and circuit magistrate pursuant to his
        election of the simplified extradition process where he and his lawyers formally confirmed his
        consent to that procedure, as required under s. 17 of the Act, and at the end of which the magistrate
        duly committed him for extradition. During that process, specific reference was made to article 14
        of the Treaty, which embodies the 'specialty' principle, and the contents of the indictment pursuant
        to which he gave his consent to be extradited.
[1 OJ   Following his extradition, the US obtained a series of superseding indictments, respectively on the
        22 February 2023 (the "S3 Superseding Indictment) and 28 March 2023 (the "S5 Superseding
        Indictment") (together referred to as the "Superseding Indictment"), which charged him with the
        following new offences, with the consequential renumbering of the charges: Count Four
        (commodities fraud); Count Nine (bank fraud conspiracy); Count Ten (unlicensed money
        transmitting conspiracy); Count 13 (conspiracy under the Foreign Corrupt Practices Act) ("the
        FCPA").
[11]    Based on documents which have recently been disclosed to the claimant's attorneys (of which
        more will be said later), the US requested by Diplomatic Note on 22 May 2023 the consent of the
        defendants ("The Bahamas") for the trial of SBF on the additional charges, described as a request
        for "a waiver of the Rule of Specialty", which was accompanied by an affidavit setting out the
        new charges and the basis for them.
[12]    It is also important to note, as part of the background, that the preliminary stages of the trial of
        SBF on the extradition charges are already proceeding in the US District Court for the SDNY. In
        this regard, on 8 May 2023 the claimant filed pretrial motions to have a majority of the counts
        dismissed on various grounds, and in particular Counts 9-10 and 12-13 dismissed on the grounds
        that they violate the specialty rule.
[13]    On 29 May 2023 the Government of the United States in its brief filed in the US District court of
        the SDNY stated that a formal application had been made to The Bahamas to request consent
        pursuant to Article 14 (1) (b) of the Treaty in respect of the additional charges in the Superseding
        Indictment that did not form part of the charges on which SBF was extradited.
[14]    On 1 June 2023, the claimant's local counsel wrote the second defendant by email seeking an
        undertaking from him that the defendants would not consent to the prosecution of SBF on the
        offences that did not form the basis of the extradition request until he could make representations
        on why consent should not be granted. Failing obtaining such an undertaking, it was indicated
        that an application would be made to the Court for appropriate relief.
[15]    The second defendant replied with a terse email on 6 June 2023 in the following terms:

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               "Thank you for your email. As you cao appreciate this matter is solely a matter between
               sovereign states. As such we cannot agree to you[r] request for ao undertaking that The
               Bahamas will not consent to the United States' request to prosecute Mr. Bankman Fried
               for those offences without first affording you the opportunity to make legal and factual
               representations in this regard."

[16]   On 7 June 2023, the claimant filed an application pursuant to Part 54.3(2) of the CPR 2022, as well
       as the other relevant enabling provisions of Part 54, seeking leave to apply for judicial review for
       the orders which are summarized below. I should add that the claims at paragraphs (i), (ii), (iii),
       (v) and (vii), as well as ground (i), were added by amendment, and were not included in the original
       application. These amendments were foreshadowed during the hearing, and I subsequently
       granted leave for them after receiving the draft amendments over the weekend, which I directed
       were to be circulated to the court and the other side. The claim (as amended) is for the following
       reliefs:
       (i)     a declaration that the granting of consent by the first defendant to try the claimant for
               additional offences other than the offences which formed the basis for the claimant's
               extradition would be an illegal/and or irrational exercise of the powers of the Minister
               under Article 14 of the Treaty and s. 7 of the Act and/or the prerogative powers, unless the
               First Defendant allows the claimant to make representations on whether such consent
               should be granted;
       (ii)    an order of prohibition prohibiting the first defendant from consenting to the request to try
               the claimant for additional offences other than the offences which formed the basis for the
               extradition without first affording the claimant an opportunity to make representations on
               (a) whether the offence is an extradition offence within the meaning of s. 5 of the Act; (b)
               if the magistrate would have committed the claimant under s. l O of the Act if the offences
               had been disclosed pre-extradition and the claimant were in The Bahamas; and (c) if he
               would have ordered the claimant's extradition taking into account ss. 7 and 12 of the Act;
       (iii)   an injunction restraining the first defendant from consenting to the request of the US to try
               the claimant for the additional offences other than the offences which formed the basis for
               the claimant's extradition to the US until the hearing of the claimant's application for
               judicial review and the matters identified in paras. (i) and (ii) above have been determined;
       (iv)    a declaration that the claimant is entitled to make representations to the defendants on
               whether The Bahamas should consent to the request by the US pursuant to art. 14( I )(b) of
               the Treaty and s. 5 of the Act to try the claimant on the additional charges other than the
               offences which form the basis of the claimant's extradition to the US in December 2022;
       (v)     an order of certiorari to move into the Supreme Court and quash the decision of the
               Attorney General dated 6 June 2023 that the decision of the First Defendant under s. 7(4)(a)
               (iii) of the Act is "a matter solely between sovereign states", in respect of which the
               claimant has no right to be heard;
       (vi)    an injunction restraining the defendants from consenting to the request to try the claimant
               on the additional offences without affording an opportunity for the claimant to be heard on
               whether consent should be given;


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       (vii)    an injunction restraining the defendants from communicating any decision on the request
                of the United States to try the claimant for additional offences other than the offences which
                formed the basis for the claimant's extradition to the US until the claimant has had a 14-
                day opportunity to apply for judicial review of any such decision;
       (viii)   an order pursuant to Part 54.3(1 O)(b) of the CPR 2022 requiring the defendants to disclose
                to the claimant any documents and communications between the defendants and the
                requesting state concerning the claimant's extradition or any offences which the requesting
                states seeks to add post-extradition, so as to enable the claimant to make representations;
       (ix)     an interim injunction pursuant to s. 21 of the Supreme Court Act 1996, or Part 54.3(10)(6)
                of the CPR 2022, or under the inherent jurisdiction of the court, that the defendants be
                restrained from consenting to the request of the US to try the claimant for additional
                offences other than the offences which formed the basis for the claimant's extradition until
                the final determination of the claimant's application for judicial review as set out in
                paragraphs (i) and (ii) above;
       (x)      a stay pursuant to Part 54.3(10)(b) of the CPR 2022 and under the inherent jurisdiction of
                the court, staying any decision of the Defendants purporting to give consent to try the
                claimant for additional offences other than the offences which formed the basis for the
                claimant's extradition until the final determination of the claimant's application for judicial
                review as set out in paras. (i) and (ii) above.
[17]   The claimant relies on three main grounds in his application, which may be summarized as follows:
       (i)      the refusal to hear the claimant on a decision to consent to the additional offences amounts
                to an illegal/irrational exercise of the discretion or power of the first defendant to give such
                consent, which must be exercised fairly and in line with the legislative intention of the Act
                (the illegality/irrationality ground);
       (ii)     the refusal to allow the claimant an opportunity to be heard on the decision to consent
                would be procedurally unfair and breach the claimant's right to procedural fairness and the
                right to be heard in matters which fundamentally affect the claimant (procedural unfairness
                ground);
       (iii)    the claimant has a legitimate expectation under both under the Treaty and the Act to invoke
                his specialty rights, which were not waived by the consent to the simplified extradition
                procedure (the legitimate expectation ground).
[18]   The application was supported by the affidavit of Wallace I. Rolle (''the Rolle Affidavit"), filed 7
       June 2023, which exhibited the affidavit of SBF sworn on the 7 June 2023, as well as a certificate
       of urgency also filed on that date.
[19]   The matter came before me as an urgent matter on Friday 9 June 2023. The urgency is said to be
       justified on the basis that there is a pretrial hearing on 15 June 2023, when the US District Court
       of the SDNYwill hear oral arguments on the claimant's motions as well as other pretrial matters,
       including the extradition issues. The claimant fears that the US will likely seek to procure the
       consent of The Bahamas in advance of the hearing scheduled for 1 S June 2023, to facilitate the US
       Government's oral arguments for the hearing, and that the Bahamas will give its consent without

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       hearing him, having refused to give an undertaking in that regard. During the course of the hearing,
       the Defendants gave an undertaking not to make any decision on the issue prior to the Court's
       decision on the application.
The legislative framework
[20]   The provisions of the Act and the Treaty against which the leave application is to be decided (and
       which are also relevant to the determination of the substantive issues) are set out below, so far as
       material.
Extradition Act
[21]   Section 5 of the Act provides as follows:
                  "5(1) Without prejudice to subsection (2), for the purposes of this Act, any offence of
                  which a person is accused or has been convicted in an approved State is an extradition
                  offence, if--
                  (a)     [Commonwealth States]
                  (b)     in the case of an offence of the law of a treaty State-
                          (i) it is an offence which is provided for by the extradition treaty with that State;
                               and
                          (ii) the act or omission constituting the offence, or the equivalent act or omission,
                               would constitute an offence against the law of The Bahamas ifit took place
                               within The Bahamas or in the case of an extraterritorial offence, in
                               corresponding circumstances outside The Bahamas.
                  (2) Any offence constituted by an act, including an act taking place in The Bahamas, that
                      is of a kind over which Contracting States to an international Convention to which the
                      Bahamas is a party are required by that Convention to establish jurisdiction is an
                      extradition offence for the purposes of this Act and shall be deemed to be committed
                      within the jurisdiction of any such Contracting State that appears to a court in The
                      Bahamas having regard to the provisions of the Convention, to be appropriate."
[22]   Together, section 5(1)(b)(i) and 5 (l)(b)(ii) give effect to the rule of 'double criminality', which
       is to the effect that the conduct disclosed in the request must be criminal under the law of both the
       requesting and requested state.
[23]   Section 7 of the Act enacts general restrictions on extradition, and the relevant part is subsection
       4, which provides as follows:
                  "(4) A person shall not be extradited to an approved State or be committed to or kept in
                  custody for the purposes of such extradition, unless provision is made by the law of that
                  State, or by an arrangement made with that State, for securing that he will not -
                           (a) be tried or detained with a view to trial for or in respect of any offence
                               committed before his extradition under this Act other than -
                               (i)     the offence in respect ofwhich his extradition is requested;
                               (ii)    any lesser offence proved by the facts proved before a court of
                                       committal or, in relation to a fugitive brought before a magistrate
                                       pursuant to section 17, any lesser offence disclosed by the facts
                                       upon which the request for his extradition is based; or
                               (iii)    any other offence being an extraditable offence in respect of which
                                        the Minister consents to his being so dealt with;

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                        (b) without the consent of the Minister, be returned or surrendered to another
                        State or detained with a view to such return or surrender, unless he had first been
                        restored to The Bahamas, or had had an opportunity of leaving the approved
                        State.
               (5) Any such arrangement as is mentioned in subsection (4) may be an arrangement made
               for the particular case or an arrangement of a more general nature; and for the purposes of
               that subsection a certificate issued by or under the authority of the Minister confirming the
               existence of an arrangement with any approved State and stating its terms shall be
               conclusive evidence of the matters contained in the certificate". [Underlining supplied.]
[24]   Section 12 of the Act provides in part:
               "12. (1) Where a person is committed to await his extradition and is not discharged by
               order of the Supreme Court, the Minister may by warrant, order him to be extradited to
               the approved State by which the request for the extradition was made unless the extradition
               of that person is prohibited, or prohibited for the time being, by section 7 or by this section,
               or the Minister decides under this section to make no order in his case.
[25]   Section 17 deals with the position where the fugitive consents to extradition without formal
       extradition proceedings. It provides in part as follows:
               "(3) Subject to subsection (4), where a fugitive is committed to custody to await his
               extradition pursuant to subsection (2) [consent to be extradited], the Minister may,
               notwithstanding the provisions of s. 11, order him to be extradited forthwith to the
               approved State by which the request for extradition was made.
               (4) In making an order under subsection (3) the Minister shall have regard to the provisions
               of section 7 and the requirements of section 12{2), (3), (4) and (5) relating to the making
               of an order under that section." [Underlining supplied.]

Treaty provisions
[26]   Article 14 of the Treaty enshrines what is called the rule of 'specialty' in extradition law. It
       provides as follows:
               "Article 14 Rule of Specialty
               (1) A person under this Treaty may only be detained, tried, or punished in the Requesting
                   State for the offense for which extradition was granted, or-
               (a) any offense committed after the extradition;
               (b) any offense in respect of which the executive authority of the Requested State, in
                   accordance with its laws, has consented to the person's detention, trial, or punishment;
                   and for the purposes of this subparagraph the Requested state shall require compliance
                   with the extradition procedures specified in Article 8 and the submission of the
                   documents specified in that Article." [Underlining supplied.]


DISCUSSION AND ANALYSIS

Frameworkfor the grant ofleave for judicial review

[27]   Applications for judicial review are governed by Part 54 of CPR 2022, and s. 19 of the Supreme
       Court Act. Part 54.3 provides, so far as may be material to this application, provides as follows:

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               "54.3 Grant of leave to apply for judicial review

               (1) No application for judicial review shall be made unless the leave of the Court has been
               obtained in accordance with this rule.
               (2) An application for leave shall be made without notice to a judge by filing in the
               Registry-
               (a) a notice in Form JRI containing a statement of­
               (i) the name and description of the applicant;
               (ii) the relief sought and the grounds upon which it is sought;
               (iii) the applicant's address for service; and
               (iv) an affidavit which verifies the facts relied on.
               (3) The judge may determine the application without a hearing, unless a hearing is
               requested in the notice of application, and need not sit in open Court provided that in no
               case shall leave be refused or granted on terms not sought in the application without giving
               the applicant a hearing.
               [... l
               (6) The Court hearing an application for leave may allow the applicant's statement to be
               amended, whether by specifying different or additional grounds of relief or otherwise, on
               such terms, if any, as it thinks fit provided that if the applicant shall fail to amend his
               statement within the time specified by the order of the court then such order shall cease to
               have effect unless the court orders otherwise.
               (7) The Court shall not grant leave unless it considers that the applicant has a sufficient
               interest in the matter to which the application relates.
               [ ... l
               (I 0) Where leave to apply for judicial review is granted, then -
               (a) if the relief sought is an order of prohibition or certiorari and the Court so directs, the
               grant shall operate as a stay of the proceedings to which the application relates until the
               determination of the application or until the Court otherwise orders;
               (b) if any relief is sought the Court may at any time grant in the proceedings such interim
               relief as could be granted in an action begun by writ".


[28]   The jurisdiction of the Supreme Court to grant injunctions is codified at section 21 of the Supreme
       Court Act ("SCA") which provides for the court to grant an interlocutory or final injunction "in all
       cases in which it appears just and convenient to do so". Section 19(2)(2) of the SCA provides in
       material part as follows:
               "A declaration may be made or an injunction granted under this subsection in any case where
               an application for judicial review seeking that relief, has been made and the Court considers
               that, having regard to-[... ] (c) all the circumstances of the case, it would be just and
               convenient for the declaration to be made or the injunction granted."
Principles relating to the grant ofleave for judicial review
[29]   In Rosetta Foster et. al. v. The Attorney General et. al. (2020/PUB/jrv/0005, 24 June 2020), this
       Court had occasion to point out that historically the justification for requiring a sufficient interest
       and the grant of leave was to weed out "busybodies with misguided or trivial complaints of
       administrative error" (per Lord Diplock in R v Inland Revenue Commissioners ex parte National
       Federation ofSelfEmployed and Small Businesses Ltd. [1982] AC 617, pp. 642-643).
[30]    However, the test has evolved over time and the modern test approved by the Privy Council (and
        also applied by the UK courts) is somewhat more stringent, although it is still accepted that the

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       threshold is not very high (see AG of Trinidad & Tobago v Ayers-Ceasar [2019] UKPC 44, Per
       Lord Sales at para. 2). In Sharma v Browne Antoine [2007] 1 WLR 780 (at 787), the Privy Council
       formulated the test as follows (para. 14, pg. 787):
                "The ordinary rule now is that the court will refuse leave to claim judicial review unless
               satisfied that there is an arguable ground for judicial review having a realistic prospect of
               success and not subject to a discretionary bar such as delay or alternative remedy". See R v
               Legal Aid Board, Exp Hughes (1992) 5 Admin LR 623, 628 and Fordham Judicial Review
               Handbook 4th ed. (2004), p. 426. But arguability cannot be judged without reference to the
               nature and gravity of the issue to be argued. It is a test which is flexible in its application. As
               the English Court of Appeal said with reference to the civil standard of proof in R (N) v. Mental
               Health Review Tribunal (Northern Region) [2006] QB 468 [ ... ] It is not enough that a case is
               potentially arguable: an applicant cannot plead potential arguability to 'justify the grant ofleave
               to issue proceedings upon a speculative basis which it is hoped the interlocutory processes of
               the court may strengthen'. "

[31]   The purpose for leave is to filter out challenges where the applicant either does not have the
       necessary interest (locus standi) to maintain the challenge, where the claim has no real prospect of
       success, or where it is subject to discretionary bars such as delay or alternative remedy. To
       summarize the position, an applicant for judicial review has to establish three main things:
       (i)     that he or she has a sufficient interest to maintain the challenge being made;
       (ii)    that there is an arguable ground with a realistic (not fanciful) prospect of success; and
       (iii)   that there are no discretionary bars such as delay or alternative remedy that would lead the
               court to refuse the leave.

Judicial review principles
[32]   It is important to point out another cardinal principle of judicial review, which is that the role of
       the supervisory com1 is confined to scrutinizing the decision-making process to determine its
       lawfulness or overall fairness (Kemper Reinsurance Co. v Minister ofFinance [ 1998] 3 WLR 630
       at 638). The administrative judge is not concerned with the merits of a decision (i.e., whether it is
       right or wrong) or even with making definitive findings of fact. Thus, the grounds for judicial
       review are normally expressed in terms of a decision being: (i) illegal (e.g., exceeding statutory
       powers); (ii) irrational or' Wednesbury'unreasonable (e.g., an outrageous decision that no sensible
       person considering all the material would have arrived at); (iii) procedurally improper (e.g., a
       decision arrived at by an unfair process), or (iv) in breach of a legitimate expectation (e.g., a
       decision that unfairly reneges on a practice or previous promise of a decision maker).
(i)     Sufficient interest

[33]    For the claimant, Mrs. Rolle KC contended that this limb is easily satisfied, as the claimant is the
        person who has been extradited and is facing additional charges which the requesting state wishes
        to pursue and, as such, the sufficiency of his interest is unchallengeable.
[34]    To her credit, Mrs. Green-Smith did not contest the sufficiency of the claimant's interest, and I
        cannot conceive of any basis on which his interest could be denied. It is clearly the case, even
        without condescending to the details of any of the additional charges, that they will expose the
        claimant to greater penalties and a much longer period of imprisonment ifhe were to be tried and

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        convicted on them. Furthermore, if the claimant is right in the contention that he has a right to be
        heard, any decision to grant consent without allowing him to make representations would deprive
        him of the procedural guarantees under the combination of the Treaty and the Act relating to the
        making of such a decision.

[35]    The claimant undoubtedly has a sufficient interest in this matter to pursue the claim.
(ii)    Arguable ground with a realistic prospect of success
[36]    Not surprisingly, the bulk of the arguments centered on the arguability of the claimant's grounds,
        and whether they disclose any real prospect of success. As indicated, the claimant has advanced
        three main grounds for his claim, one of which has been added by amendment. To recapitulate,
        they are: (i) that the decision by email negating his right to be heard is irrational/illegal; (ii) that
        the refusal to allow an opportunity to be heard would breach his right to procedural fairness; and
        (iii) that he has a legitimate expectation that he would be able to invoke specialty rights to challenge
        the consent of The Bahamas to the addition of the new offences.

[3 7]   The defendants argue that the claimant's application does not disclose any arguable grounds and
        furthermore that the application is an abuse of the process of the court (a point which I address
        below under discretionary bars). They advance a few arguments in support of their case, albeit
        these were not developed in any great detail. Firstly, they say that no decision has been made in
        respect of whether consent will be given, and therefore the application is premature. Secondly,
        they assert that, notwithstanding the terms of the email of6 June 2023, this does not preclude the
        claimant from making representations. In this regard they indicate that they have (on 8 June 2023)
        provided the claimant's attorney with the Diplomatic Note and affidavit in support relative to the
        request by the US for consent to pursue the additional charges, which furnishes him with the
        information he needs to make legal and factual representations.

Court's analysis of the arguability of the claims

[38]    In point of fact, other than suggesting that the question ofconsent was a "matter between sovereign
        states"-a point which was not developed by the defendants in oral or written submissions-the
        defendants did not advance any substantive arguments as to the arguability of the claims. For the
        brief reasons given below, I would hold that all of the grounds advanced by the claimants disclose
        arguable claims with a real prospect of success.

Illegality and/or irrationality

[39]    Illegality is principally concerned with ensuring that the exercise of a particular statutory or
        prerogative power is used in accordance with the law or legal principles that regulate it. In Council
        of Civil Service Unions v. Minister for the Civil Service [1985] A.C. 374, ("CCSU case"), Lord
        Diplock in identifying illegality as a head of judicial review said [at 410] " . . . the decision-maker
        must understand correctly the law that regulates his decision-making power and give effect to it."

[40]     In the classic sense, irrationality refers to decisions which may be considered so illogical or
         unreasonable that no reasonable decision-maker could come to it (Associated Provincial Picture

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       Houses Ltd. v Wednesbury Corp. [1948] I KB 223), but it can also arise in circumstances where
       in exercising its powers, a decision-maker fails to take into account all considerations relevant to
       the decision being made, or considers irrelevant matters.

[41]   The central claim being made under these grounds is that the decision not to give the undertaking
       and to indicate that it was a "matter solely between sovereign states" amounts to both an illegal
       and irrational decision, as it does not accord with the legislative intention for how the Minister's
       power to give post-surrender consent is to be exercised on a proper interpretation of the Act.

[42]   As noted, s. 7 provides that a person "shall not be extradited" to an approved state unless provision
       is made bythe law ofthat state, or some arrangement made by that state, for ensuring that he will
       not be tried for any other offence (i.e., other than those for which he was extradited), unless the
       offence is "an extraditable offence" and the Minister consents to it. This reflects the specialty
       principle, subject to the qualifications provided therein. To be an "extraditable offence", the
       offence must come within s. 5, which establishes a requirement for double criminality. It is notable
       in this regard that s. 17, which deals with extradition where the person consents to the simplified
       procedure, also requires the court to have regard to, inter alia, s. 5 of the Act when an order is
       made for the extradition ofa person under that section.

[43]   While the Act is silent on the procedure for the first defendant to give consent pursuant to art. 14
       (l)(b) of the Treaty, that article requires that the requested state's consent must be given "in
       accordance with its laws", which incorporates the dual criminalityrequirement. Further, it also
       requires compliance with the "extradition procedure" set out in Article 8, which sets out a laundry
       list of documents and other information required to be submitted in a normal request for
       extradition-what the claimant describes as a "full request package".

[44]   The claimant contends that what is envisaged under the Act is a complex decision-making process,
       which must be exercised fairlyand with procedural propriety, and requires the claimant to be heard.
       In other words, it is not simply a matter between states. In fact, the claimant goes so far as to
       contend that the process should operate similar to what pertains in the UK Extradition Act 2003 at
       s. 129, and which gives effect to the specialty provision at s. 95 of the UK Act, which it is contended
       is very similar to s. 7 of the Bahamian Act. Extrapolating this to the Bahamian context, is
       submitted that the proper approach of the first defendant when exercising his power to grant
       consent as envisaged bys. 7(4)(a)(iii) of the Act and to be in line with the legislative intention
       would be to follow the procedure set out below:

           (a) Serve notice ofthe application for consent on the claimant unless it was impractical to do
               so;
           (b) Decide whether the offence is an extradition offence within the meaning ofsection 5 of the
               Extradition Act;
           (c) Decide if the magistrate would have committed the claimant under section IO of the
               Extradition Act to await his extradition if the claimant had been in the Bahamas;
           (d) Decide ifhe would have ordered the Claimant's extradition taking into account s. 7 and 12
               of the Extradition Act.


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[45]   I make no observations about whether or not it would be appropriate to superimpose the UK
       statutory procedure on the Bahamian Act. The UK position is based on an extradition regime
       which is different from what pertains in The Bahamas and involve provisions that are different,
       notwithstanding that there are some similarities. But I am satisfied that the question of whether
       the provisions of the Act and the Treaty (to the extent that the Treaty provisions may be said to
       incorporated in the Act) may require some form ofprocess that takes into consideration the matters
       adverted to by the claimant is an arguable issue with some reasonable prospect of success.

[46]   In coming to this conclusion, I bear in mind that The Bahamas is a dualist state as far as the
       reception of international law is concerned, and unimplemented treaties are not directly
       enforceable: see, for example, Rey v. Switzerland [1991] I AC 54, where the Privy Council said:

               "Except in so far as the Act of 1994 incorporates by reference provisions of the Treaty into
               section 5(l)(b)(i) (list of offence) and section 10(4) (period for production of documents) of
               the Act of 1994, the Treaty is not part of the domestic law of The Bahamas. The Act of 1994 is
               the code governing extradition. A request for extradition therefore must be considered
               exclusively in accordance with the provisions of the Act."

[47]   However, a key component of the claimant's arguments is that the Treaty provisions have been
       sufficiently incorporated by reference into the Act, so as to enable him to invoke legal rights arising
       from the Act itself. Furthermore, as the common law has developed, it is clearly no longer the
       thinking that unimplemented treaties are without any effect in domestic law, or even that executive
       or prerogative powers could be exercised willy-nilly.

[48]   In Lewis v AG ofJamaica [2001] AC 50, the Privy Council held that an unimplemented treaty (the
       American Convention on Human Rights) and the practice of Jamaica in the manner in which it had
       awaited the reports ofhuman rights bodies before exercising the prerogative of mercy, created a
       due process right in domestic law which was subject to judicial review. The Board said [at pg.
       79]:

               "Whether or not the provisions of the Convention are enforceable as such in domestic courts,
               it seems to their Lordships that the states' obligation internationally is a pointer to indicate that
               the prerogative of mercy should be exercised by procedures which are fair and proper and to
               that end are subject to judicial review."

       (See, also, R v Home Sec, ex parte Fire Brigades Union [1995] 2 AC 513 (at 553D) on the
       reviewability ofexecutive decisions.)

Right to be heard

[49]   Although the Act does not specifically confer any right on the extradited person-'fugitive' in the
       old parlance ofthe Act-to be heard on the Minister's exercise ofthe discretion to give consent to
       prosecution ofother offences, the claimant points outs that it is a fundamental aspect ofprocedural
       fairness to give affected persons an opportunity to be heard. The claimant relies on the UKSC case
       of Re Application for Judicial Review by JR17 [2010] UKSC 27, where Sir John Dyson SCJ said
       that the right to have a reasonable opportunity oflearning what is alleged against him and putting

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        forward his answer to it "is one of the fundamental rights accorded by the common law rules of
        natural justice".

[50]    Reference was also made to the well-known authority of R v Secretary of State for the Home
        Department, ex parte Doody [1994] 1 A.C. 531 [at 560D-G], where Lord Mustill said:

                "Fairness will very often require that a person who may be adversely affected by the decision
                will have an opportunity to make representations on his own behalf either before the decision
                is taken with a view to producing a favourable result; or after the decision is taken, with a view
                to procuring its modification, or both".

[ 51]   While the defendants stopped short of conceding that the claimant has a legal right to be heard on
        the question of consent, they nevertheless accepted that the claimant could make representations.
        At several points during the hearing, counsel for the defendants stated that that there was nothing
        "precluding the ... claimantfrom making representations through their counsel," which it was said
        could be done "in the form of a letter, [or} through the form of submissions to the Honorable
        Attorney Generaf'. It was also stated that: "The claimant is entitled to make representation to the
        defendants on whether The Bahamas should give consent as requested by the United States of
        America pursuant to Article 14 of the Extradition Treaty."

[52]    As explained in some detail under the rubric of"abuse of process" below, I had some difficulties
        reconciling those statements with what I consider to be the plain meaning of the email. But in
        light of the acknowledgement that the claimant could or ought to be heard as part of the decision­
        making process, it seems to me that it could hardly lie in the mouths of the defendants to contend
        that the issue of the right to be heard is a meritless challenge.

Legitimate expectation

[53]    The final ground staked by the claimant is that he has a legitimate expectation that he would be
        heard if the US sought to use the procedure at article 14(1)(b) of the Treaty.

[ 54]   A legitimate expectation may arise from an express representation, promise or undertaking from a
        decision-maker as to future conduct (Attorney General of Hong Kong v Ng Yuen Shi [1983] 2A.C.
        629), from an implied representation based on past practice or conduct (Rowland v Environmental
        Agency [2003] EWCA Civ 1985), or where the claimant has an interest in some ultimate benefit
        which he hopes to retain and fairness dictates that he should be given an opportunity to make
        representations prior to any act or decision being made (Council ofCivil Service Unions v. Minister
        for the Civil Service [1985] A.C. 374 at 401, per Lord Fraser. I assume that the latter covers the
        present case.

[55]    The central argument of the claimant in this regard is that although he consented to the simplified
        extradition procedure, he maintained his specialty rights and has a right to invoke the principle to
        challenge the consent of the requested state to the adding of any additional charges by the US.

[56]    Simply put, 'specialty' is a rule or principle of extradition law that a person extradited to a
        requesting state is not to be detained, prosecuted or punished by the requesting state for offences
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       other than those for which he was extradited. Some academic writers (M. Cherif Bassiouni,
       International Extradition: United States Law and Practice (4th Ed., 2001 ), go so far as to ascribe
       to it the status of customary international law: "specialty is a principle so broadly recognized in
       international law that it has become a rule of customary international law." It is not absolute,
       however, and it is often qualified by provisions of extradition treaties or Acts (similar to those
       which are engaged here) that provide for the requested state to consent to such ulterior prosecution.

[57]   The transcript of the hearing (exhibited to the Wallace Rolle affidavit) when SBF appeared before
       the magistrate pursuant to the simplified extradition procedure shows that the question of the
       observance of the specialty principle was specifically raised by counsel for SBF during these
       proceedings. In fact, the claimant's pretrial motion before the US Court [at pg. 13] puts the
       position somewhat higher:

               "During the hearing, Mr. Bankman-Fried's Bahamian counsel asked that the Magistrate ensure
               the rule of specialty applied. . . . The Magistrate ackoowledged Bahamian counsel's request,
               confirming his understanding that the Minister of Foreign Affairs was obligated under the
               Extradition Act to obtain assurances from the United States that the rule of specialty would
               apply and that he would convey this understanding to the Minister. ... The Magistrate also
               expressed confidence that the United States and the Bahamas would comply with the rule of
               specialty as set forth in the Treaty... ".

[58]   Therefore, it is argued that the claimant, in consenting to the simplified process, was not waiving
       his right to the protection of the rule of specialty or dual criminality. He was only consenting and
       therefore waiving his rights to formal extradition proceedings in respect of the offences contained
       in the original indictment or, for that matter, only those contained in the warrant of surrender. The
       latter observation is explained by the fact that there is a dispute over whether Count 8 (violation
       of campaign finance laws), which was in the original indictment but not included in the warrant of
       surrender, formed part of the extradition offences.

[59]    There is a debate in extradition law over whether the specialty rule is intended to protect the
        sovereign rights of states in surrendering persons within their territory, or is directed to the
        protection of the rights of person subject to extradition. In their approach to extradition matters,
        the courts will strive to give effect to both. As the Privy Council stated in Cartwright and anor. v
        Superintendent ofHM's Prison and anor [2004] UKPC 10 [at 14]:

                "14. In extradition law the court must adopt a balanced approach. Throughout extradition law
                there are two principal threads. First, in exercising the powers of extradition courts of law
                must, as Isaacs J observed, be vigilant to protect individuals from the overreaching of their
                rights by the govermnent. Justice to the individual is always of supreme importance. Secondly,
                the Board considers that it is imperative of legal policy that extradition law must, wherever
                possible, be made to work effectively."

[60]    In R v Misick and others (Extradition.from Brazil) (2021) 98 WIR 596, the Supreme Court of the
        Turks and Caicos Island (Agyemang CJ) held that the specialty principle was sufficiently
        incorporated under the Extradition Act to entitle the first defendant, the former Chief Minister and
        later Premier of the Turks and Caicos Islands, to successfully invoke the rule, in an application for
        a stay of the criminal proceedings against him and for declarations that the proceedings were an

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        abuse ofprocess. As a result, the court ruled that, in accordance with the rule of specialty, the
        counts which were not the offences for which he was extradited, and which were included in a new
        information filed some years after his extradition (the original trial having been aborted due to the
        death ofthe judge) had to be excluded from the charges.

[61]    In my judgment, the issue ofwhether the claimant is entitled to invoke the specialty rule as a basis
        for being heard on the exercise of the power by The Bahamas to consent to new charges is an
        arguable issue that has some real prospect ofsuccess. If the charges in the superseding indictment
        were put forward at the time ofthe request, the claimant would have had the opportunity and right
        to challenge them in formal extradition proceedings. Therefore, denial ofa right to be heard would
        deprive the claimant of an interest or benefit to procedural rights to which he would otherwise
        have been entitled under the Act.

Prematurity (no decision made)

[62]    On the prematurity argument, while I accept that the defendants have not yet made any
        determination on the question of whether they will give consent, I do not agree that a decision has
        not been made on which an application for judicial review can fasten. It is true that the original
        application did not specifically describe the 6 June 2023 email as the decision being challenged
        (although this was obvious from the context ofthe application), but this omission was repaired by
        virtue of the amendment. The claimant contends that the email made two decisions: (i) that the
        claimant had no right to be heard; and (ii) that the decision on consent was a matter solely between
        the states, both of which are challenged.

[63]    Mrs. Green-Smith was at pains to point out that the email did not "preclude" the claimant from
        making representations, as it only said the defendants would not give an undertaking that they
        would not make the decision without hearing from him, not that they would not entertain
        representations if made. For my part, I think this is splitting hairs; a distinction without any
        difference. While it might be possible to argue that the refusal to give the undertaking is equivocal
        on the question ofwhether the claimant would be allowed to make representations, the assertion
        that the issue of granting consent was a matter between states is a clear indication that the state
        was staking a position that the claimant had no right to be heard on the matter.

(iii)    Whether discretionary bar such as delay or alternative remedy

[64]     There is obviously no question of delay, as the application was filed one day after the claimant
         received the email of6 June 2023. But the defendants claim it is an abuse of the process of this
         court, as the claimant has made a motion before the US District Court of the SONY seeking to
         dismiss Counts 9, 10, 12 and 13 as violating the rule of specialty and seeking disclosure of
         materials relative to SBF's extradition. The defendants contend that these are the same issues
         raised before the court in the judicial review application. They further contend that the ability for
         the claimant to challenge the new charges as a preliminary matter before the US Court is also
         indicative that the claimant has alternative remedies.



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[65]   In this regard, it is axiomatic and accepted by all that judicial review is a discretionary remedy.
       The question whether and in what circumstances the court should exercise its discretion was
       canvassed in R v Chief Constable of Merseyside Police, exparte Calveley [1986] QB 424, where
       Master of the Rolls, Sir John Donaldson (as he then was) said: " . . . it is a cardinal principle that,
       save in the most exceptional circumstances, [thejudicial reviewJ will not be exercised where other
       remedies were available and have been used" (quoting from his own judgment in R v Epping and
       Harlow General Commissioners, ex parte Goldstraw [1983] 3 All ER 257).

[66]   For my part, I am not at all persuaded that this application raises any issues of abuse of process.
       The claimant is entitled to raise whatever preliminary objections or other issues are available to
       him under US law as part of his defence in the substantive trial for which he has been extradited.
       This is not a question of forum conveniens; he has been extradited for trial before the US District
       Court of the SDNY and is entitled to raise any objections available to him there. The fact that
       the specialty point is being taken to resist the addition of the new charges in that forum is not an
       issue which is cognizable by this court. Likewise, the issue of whether The Bahamas (acting
       through the defendants) has violated or will violate any procedural rights of the claimant under the
       Treaty and Act by granting consent to the additional charges without hearing him is a matter solely
       within the bailiwick of the courts of The Bahamas.

[67]   Further, the court takes note (as appears from the pre-trial motions of the claimant and the
       government in the affidavit of SBF) that one of the preliminary issues is whether the claimant even
       has standing to raise the specialty argument. US jurisprudence on the point is not settled: on one
       side of the split, several federal circuits (Second and Seventh) have denied the right of the
       individual to raise a rule-of-specialty challenge, absent any "affirmative protest" from the
       surrendering state on the basis that extradition treaties only create rights between states. Other
       circuits (Sixth, Eight, Ninth, Tenth and Eleventh) have granted individuals standing separate and
       apart from any objections raised by the extraditing state. See, as examples of the two approaches,
       the Second Circuit in United States v. Barina (2nd Cir. 2017); and the Ninth Circuit in United States
       v. Cuevas (9th Cir. 1988). In fact, the point is taken in the Government's motion that the extraditing
       country's decision on a request to waive the rule of specialty is dispositive of the matter (US v
       Guzman Loera, 24 F. 4th 144, 152 (2d Cir. 2022). To my mind, this is a powerful imperative for
       the claimant to seek to make representations to the decision makers in The Bahamas before the
       decision on consent is made and communicated.

[68]   By parity of reasoning, I also reject the suggestion that the pretrial motions can be viewed as an
       alternative remedy available to the claimant. I think it stands to reason that any alternative remedy
       can necessarily only arise by virtue of the laws or other legal or executive processes in the
       jurisdiction where the judicial review is being pursued. I therefore do not find that the claimant
       has failed to exhaust alternative remedies.

Interim Relief

[69]   As indicated, the SCA and Rules provide for the court to grant various forms of interim relief
       during the grant of leave, depending on the nature of the relief sought, or "at any stage" if the relief
       is one which could be claimed in a writ action (54.3(10)).

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[70]     It is common ground between the parties that the court will approach the grant of an interim or
         interlocutory injunction in a public law case on the familiar principles set out in American
         Cyanamid Co. v Ethicon [1975] AC 396 but "with modifications appropriate to the public law
         element of the case", as one of the "special factors" referred to by Lord Diplock in that case (see
         Belize Alliance of Conservation Non-Governmental Organizations v Department of the
         Environment (Interim Injunction) [2003] UKPC 63 ("BACONGO case").
[71]     The American Cyanamid principles are often explicated by way of a four-part sequential test or
         questions as follows: Is there a serious issue to be tried? Is so, will damages be an adequate remedy
         for either party pending the outcome of the trial? If not, or if there are doubts about the adequacy
         of damages, where does the balance of convenience lie?
[72]     The court has found that the applicant has raised arguable issues with a reasonable prospect of
         success, and I hold that these meet the threshold of a serious issue to be tried within the meaning
         of the American Cyanamid criteria.

[ 73 ]   It is hardly ever the case that damages will be an adequate remedy for either party in public law
         proceedings. As matter of principle, there is generally no right to claim damages in respect of
         unlawful administrative action (unless other distinct causes of action such as torts or other rights
         are also disclosed) (R (on the application of) Quark Fishing Ltd. v. Secretary of State for Foreign
         and Commowealth Affairs [2005] UKHL 57. This is because the purpose of public law
         proceedings is to ensure that public authorities exercise their powers lawfully, not to compensate
         individuals affected by any misuse or mistake in the exercise of powers or punish public authorities
         for any failings.
[74]     As is often the case in public law proceeding (as in private claims), the most important issue in
         considering interim relief lies in determining where the balance of convenience lies, or in
         determining which course "seems likely to cause the least irremediable prejudice to one party or
         the other", as put by the Privy Council in National Bank ofJamaica Ltd. v. Olint. Corp Ltd. [2009]
         UKPC 16. In doing so, account will be taken (as expressed in the BACONGO case), not only of
         the immediate interests of the parties, but also of the wider public interest.

[75]     The claimants argue that the balance clearly lies with the claimant, because if the Minister were to
         make a decision without hearing the claimant and communicated his decision to the requesting
         state, whatever procedural rights or legitimate expectations the claimant has under the Act would
         be abrogated. He will be exposed to further criminal penalties and sentences as a result, when it
         might tum out that some of the offences were not extradition offences in the first place (as is in
         fact claimed).
[76]     The defendants did not advance any specific arguments on the balance of convenience, but made
         three general observations: (i) no injunction is available to prevent the enforcement of the law
         (Paradise Games & Ors. v The Attorney General of the Bahamas (2013/CLE/gen/00150 &
         2013/CLE/gen/00151); no permanent injunction is available against the Crown; and (iii) that the
         court should take into account as a special factor the international obligations of The Bahamas
         pursuant to the extradition treaty and the public interest in ensuring that the extradition regime
         works effectively.



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I77]    The first of these statements of principle is unexceptionable, but it has no relevance to the matter
        at hand. Paradise Games concerned the enforcement of criminal laws, which admitted of no
        discretion, and that is not the case here. As to the second, no permanent injunction is being sought,
        and in any event, the law is settled that a minister or other officer of the Crown is subject to
        injunctive relief (whether interlocutory or final) when acting in his official capacity: see M v Home
        Office [1994] A.C. 377.
[78]   As to the latter principle, these are in fact valid considerations for the court to have regard to in
       determining where the balance of convenience lies. But in my view, they do swing the balance
       in favour of the defendants. The claimant is seeking a number ofinterlocutory injunctions (several
       of which admittedly overlap) to prevent a decision being taken pending the hearing of his judicial
       review application to vindicate his rights. If the defendants are not enjoined and make the decision
       without hearing from him, he apprehends that he might suffer irreparable harm. On the other
       hand, if the injunction is granted, the defendants would be delayed for a period in their ability to
       make a decision on the US request for consent, and in fact that process could (at least conceivably)
       be short-circuited by executive action to provide a proper opportunity for the claimant to be heard.
[79]    I therefore find that the balance of convenience favours the claimant.
Disclosure


[80]    As mentioned, there was also a request for disclosure of certain documents passing between the
        US and the Bahamas relating to the request and the extradition proceedings. However, in light of
        the voluntary disclosure of certain documents to the claimant just a day before the hearing, counsel
        indicated to the court that she would not be pressing the disclosure application at the time.
        Therefore, nothing more needs to be said of this.

CONCLUSION AND DISPOSITION



[81]    For the reasons given above, I would make the following orders (which counsel are invited to
        transpose into a draft Minute of Order):
        (i)     Leave is granted to the claimant to amend the application for judicial review in the terms
                indicated in the draft.
        (ii)    Leave is granted to the claimant to commence proceedings for judicial review against the
                defendants for the reliefs claimed and on the grounds indicated in the application for
                judicial review (as amended).
        (iii)   I grant the injunction sought at paragraph (ix) of the application that the defendants be
                restrained from granting consent to the request of the US to try the claimant for additional
                offences which did not form the basis for the claimant's extradition pending the hearing
                and determination of the claimant's claim for judicial review (as set out in paras. (i) and
                (ii) of the application). (The terms of the injunction sought at para. (iii) are materially the
                same as the formulation at para. (ix), and it is therefore duplicative and refused. I also
                refuse the injunction sought at (vi), as the practical result of the grant would be to pre-empt
                the substantive outcome of the judicial review. I also refuse the injunction sought at (vii)

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                as that would constitute the grant of an injunction in futuro and bypass the test set out in
                Part 54 of the CPR for obtaining leave and interim relief in relation to what would be a
                new decision. Further, the terms are too vague, as "any decision on the request" could
                conceivably include a decision refusing consent.)
        (iv)    No order is made on the application for disclosure (for the reasons given above).
        (v)     I further direct that the parties are to take steps to have the application for judicial review
                heard and determined in an expedited manner.


{82]    I will hear the parties on costs.




Klein, J.
13 June 2023.




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